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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------- x
JENNIFER BLAIR,                                            :
                                                           :
                                   Plaintiff,              :
                                                           :       MEMORANDUM AND ORDER
              -against-                                    :
                                                           :          17-CV-383 (DLI) (ST)
BROOKLYN TRANSPORTATION CORP., :
                                                           :   :
                                   Defendant.              :
                                                           :
---------------------------------------------------------- x
DORA L. IRIZARRY, Chief United States District Judge:

        Plaintiff Jennifer Blair (“Plaintiff”) is a transgender female residing in Jamaica, New York.

(Complaint, (“Compl.”) Dkt. Entry No. 1, ¶ 3.) Defendant Brooklyn Transportation Corp.

(“Defendant”) is a school bus transportation service provider incorporated in New York. (Compl.

¶ 4.) Plaintiff brings claims under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000 et

seq. (“Title VII”), the New York State Human Rights Law, N.Y. Exec. Law § 296 et seq.

(“NYSHRL”), and the New York City Human Rights Law, N.Y.C. Admin. Code § 8-107 et seq.

(“NYCHRL”). Plaintiff requests a declaratory judgment, as well as compensatory damages for

personal injury and all past lost wages and benefits, punitive damages in the maximum amounts

permitted by law, and reasonable attorneys’ fees. (See generally Compl.)

        Pursuant to Rule 12 of the Federal Rules of Civil Procedure, Defendant moved to dismiss

the Complaint for failure to state a claim for relief. (See Def.’s Mem. in Supp. of Mot. to Dismiss

(“Def.’s Mot.”), Dkt. Entry No. 12-1.) Plaintiff opposed the motion, (See Pl.'s Mem. in Opp'n to

Mot. to Dismiss (“Pl.’s Opp’n.”), Dkt. Entry No. 13.), and Defendant replied. (See Def.’s Reply

Mem. In Supp. Of Mot. To Dismiss (“Def.’s Reply”), Dkt. Entry No. 14.)




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                                                    Background

         Plaintiff is a transgender female residing in Jamaica, New York. (Compl. ¶ 3.) Defendant

is a school bus transportation service provider incorporated in New York, with its principal place

of business in Brooklyn. (Id. ¶ 4.) Defendant hired Plaintiff in 2007 as a bus driver. (Id. ¶ 12.)

When Plaintiff was hired, her gender, gender identity, and gender expression were all female, and

her co-workers referred to her as Jennifer Blair. (Id. ¶ 13.) However, at the time of Plaintiff’s

hiring, Plaintiff’s legal name was Keith Edward Blair. (Id. ¶ 14.) Therefore, Plaintiff’s

employment-related documentation and paychecks displayed her former name. (Id.) Thus,

Defendant was aware of Plaintiff’s transgender status.

         In 2009, Plaintiff legally changed her name to Jennifer Blair and updated her required

employment documentation, including paperwork related to her commercial driver’s license,

social security records, and company paperwork accordingly. (Id. ¶ 15.) Plaintiff alleges that she

was not permitted to change the gender marker on her driver’s license. (Id. ¶ 16.)

         In or around summer 2013, Plaintiff began working under a new manager, William Lewis

(“Lewis”). (Id. ¶ 17.) Lewis had access to employee personnel files, which contained employees’

personal information. (Id.) Plaintiff alleges that Lewis repeatedly tried to get her attention while

she was at work and made inappropriate comments toward her based on sex. (Id. ¶ 18; Exhibit A,

Dkt. No. 1-2.)1

         In February 2014, Lewis issued Plaintiff’s medical certification form under her former

name, Keith Edward Blair. (Compl. ¶ 19.) Plaintiff needed this certification form to obtain medical

clearance in order to continue operating a bus. (Id. ¶ 21; New York State Vehicle and Traffic Law


1
  While the complaint itself does not use this particular language (“based on sex”), this was the language used in
Plaintiff’s EEOC charge of discrimination, which is attached to the complaint as Exhibit A. “A complaint is deemed
to include any written instrument attached to it as an exhibit.” Sira v. Morton, 380 F.3d 57, 67 (2d Cir. 2004) (citations
omitted); Fed. R. Civ. P. 10(c).


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§ 19-A.) The medical certification form utilized by Defendant is a handwritten form with a space

to write in the employee’s name, social security number, company, and position, among other

details. (Def.’s Mot., Exhibit A & B, Dkt. No. 12-2.)2 In order to obtain medical clearance in

compliance with New York law, drivers have to provide the medical certification form to a

designated medical provider and get an annual physical examination. (Compl. ¶ 21; New York

State Vehicle and Traffic Law § 19-A.) Plaintiff is required to obtain a physical examination every

6 months since she is diabetic. (Compl. ¶ 22.)

         Until February 2014, Plaintiff had received her medical certification form with no issues.

(Id. ¶ 23.) When Plaintiff received the medical certification form under her former male name,

Plaintiff immediately alerted Defendant to the error and requested updated paperwork under her

legal name. (Id. ¶ 24.) However, Defendant did not reissue the paperwork even though Defendant

was aware this form was necessary for Plaintiff to obtain a physical exam to renew her commercial

driver’s license. (Id. ¶ 25.)

         Plaintiff received a letter from Defendant in June 2014 that she was no longer qualified to

operate a commercial vehicle as her medical clearance had lapsed effective June 4, 2014. (Id.) At

this time, Plaintiff went to a designated medical provider and “convinced” 3 the medical provider

to call Defendant in order to get the information necessary for the evaluation, rather than rely on

the inaccurate form. (Id. ¶ 28.) Plaintiff was informed during her physical examination that the



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  While the medical certification forms filled out by Defendant are not included in Plaintiff’s complaint, “[a] complaint
is deemed to include . . . materials incorporated in it by reference, and documents that, although not incorporated by
reference, are ‘integral’ to the complaint.” Sira, 380 F.3d at 67 (citations omitted) (quoting Chambers v. Time Warner,
Inc., 282 F.3d 147, 153 (2d Cir. 2002). In this case, Plaintiff mentions the medical certification forms in her complaint,
but does not cite or attach them to her complaint. (Compl. ¶ 19–21, 24, 27.) While Plaintiff does not cite to or attach
the medical certification forms to her complaint, these are “integral” to the complaint because the issuance of the
incorrect medical certification form is the adverse action Plaintiff complains of.
3
  While the complaint itself does not use this particular language, this was the language used in Plaintiff’s EEOC
charge of discrimination, which is attached to the complaint as Exhibit A. “A complaint is deemed to include any
written instrument attached to it as an exhibit.” Sira, 380 F.3d at 67 (citations omitted); Fed. R. Civ. P. 10(c).


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requirements for diabetic drivers to obtain medical clearance now required an evaluation by an

endocrinologist. (Id. ¶ 29.) Plaintiff made the earliest appointment available to see an

endocrinologist, July 29, 2014. (Id. ¶ 30.) After the July 29 appointment, Plaintiff was medically

cleared to resume driving, but the relevant state agencies did not finish processing Plaintiff’s

paperwork until October 2014. (Id.)

        Plaintiff was suspended from her employment without pay from June 4 to October 29,

2014. (Id. ¶ 31.) Defendant did not provide Plaintiff with alternative work in a non-driving position

during this time. (Id. ¶ 32.)

        On November 12, 2014, Plaintiff filed a charge of discrimination with the Equal

Employment Opportunity Commission (“EEOC”) alleging sex discrimination and harassment. (Id.

¶ 33; See also Exhibit A, Dkt. No. 1-2.) On June 20, 2016, the EEOC issued a reasonable cause

determination, finding that Plaintiff “was subjected to gender discrimination when [her] medical

clearance form was incorrectly issued in her former name, and she incurred a loss of income when

she was suspended without pay, all in violation of Title VII.” (Compl. ¶ 34–35; See also Exhibit

B, Dkt. No. 1-3.) The EEOC also determined that Defendant “failed to take prompt and appropriate

action by offering [Ms. Blair] alternative work in a non-driving position and/or immediately

correcting the name to reflect [Ms. Blair’s] preferred legal name.” (Compl. ¶ 35; See also Exhibit

B, Dkt. No. 1-3.) The EEOC attempted conciliation between the parties, but those efforts failed.

(Compl. ¶ 36.) Plaintiff requested a Notice of Right to Sue, which was issued on November 30,

2016. (Id. ¶ 37; See also Exhibit C, Dkt. No. 1-4.)




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                                             Discussion

I. Motion to Dismiss Standard

       Under Rule 8(a) of the Federal Rules of Civil Procedure, pleadings must contain a “short

and plain statement of the claim showing that the pleader is entitled to relief.” Pleadings are to give

the defendant “fair notice of what the claim is and the grounds upon which it rests.” Dura Pharms.,

Inc. v. Broudo, 544 U.S. 336, 346 (2005) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)),

overruled in part on other grounds by Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)). “[T]he

pleading standard Rule 8 announces does not require ‘detailed factual allegations,’ but it demands

more than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 555). “A pleading that offers ‘labels and

conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not do.’” Id.

(quoting Twombly, 550 U.S. at 555).

       Under Rule 12(b)(6), a defendant may move, in lieu of an answer, for dismissal of a

complaint for “failure to state a claim upon which relief can be granted.” To resolve such a motion,

courts “must accept as true all [factual] allegations contained in a complaint,” but need not accept

“legal conclusions.” Iqbal, 556 U.S. at 678. For this reason, “[t]hreadbare recitals of the elements

of a cause of action, supported by mere conclusory statements, do not suffice” to insulate a claim

against dismissal. Id. “[A] complaint must contain sufficient factual matter, accepted as true, to

‘state a claim to relief that is plausible on its face.’” Id. (quoting Twombly, 550 U.S. at 570).




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II. Failure to State a Claim under Title VII, NYSHRL, NYCHRL

        1. Claims under Title VII and NYSHRL

Legal Standard

        In order to establish a prima facie case for employment discrimination under Title VII and

NYSHRL, Plaintiff must show that: (1) she is a member of a protected class; (2) she was qualified

for the position she held; (3) she suffered an adverse employment action; and (4) the adverse action

took place under circumstances giving rise to an inference of discrimination. Holcomb v. Iona

College, 521 F.3d 130, 138 (2d Cir. 2008) (citing Feingold v. New York, 366 F.3d 138,152 (2d Cir.

2004)); See also Patane v. Clark, 508 F.3d 106, 113 (2d Cir. 2007) (“New York courts examine

claims under [NYSHRL] with the same analytical lens as corresponding Title VII-based claims.”).

“Because NYSHRL claims are subject to the same standard as Title VII claims, [the Court] will

consider them together, except [if] otherwise noted.” Soloviev v. Goldstein, 104 F. Supp.3d 232,

246 (E.D.N.Y. 2015) (citing Salazar v. Ferrara Bros. Bldg. Materials Corp., 13-CV-3038, 2015

WL 1535698, at *5 (E.D.N.Y. Apr. 6, 2015)). Defendant does not move to dismiss on the first

element, but disputes Plaintiff’s allegations that she was qualified for the position, that she suffered

an adverse employment action, and that this is an adverse employment action that took place under

circumstances giving rise to an inference of discrimination. (See generally Def.’s Mot.)

Protected Class

        The parties stipulate that, as a transgender female, Plaintiff is a member of a protected

class. (Def.’s Mot. at 6; Pl.’s Opp’n. at 6.)




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Qualifications for the Position

        In order to make a prima facie showing that Plaintiff was qualified for the position, Plaintiff

“need only make the minimal showing that she possesses the basic skills necessary for

performance of [the] job.” Gregory v. Daly, 243 F.3d 687, 696 (2d. Cir. 2001) (internal quotations

omitted). Furthermore, in a case where “the employer has already hired the employee into the job

in question, the inference of minimal qualification is, of course, easier to draw. . . because, by

hiring the employee, the employer has already expressed a belief that she is minimally qualified.”

Id.

        Here, Plaintiff has pled adequately that she was qualified for the position. Plaintiff had

been working for Defendant since 2007, and consistently had obtained medical clearance without

any problems until February 2014, when Defendant issued Plaintiff the incorrect medical

certification form. (Compl. ¶ 12, 19, 23.) This supports an inference that Plaintiff was qualified

for the position.

        Defendant claims that Plaintiff was not qualified for the position because Plaintiff no longer

possessed a valid commercial driver’s license at the time of her suspension. (See Def.’s Mot. at 6–

7; Def.’s Reply at 3–4.) This argument, however, is without merit. The Court considers Plaintiff’s

qualifications on the date the alleged adverse employment action occurred. See Soloviev, 104 F.

Supp.3d at 248 (assessing plaintiff’s qualifications at the time he was fired).

        In this case, the alleged adverse employment action (i.e. the issuing of the medical

certification form with Plaintiff’s former male name) occurred in February 2014. (Compl. ¶ 19,

26.) At the time of the adverse employment action, Plaintiff possessed a valid commercial driver’s

license. (See id. ¶ 26.) Thus, Plaintiff has pled sufficiently her qualification for the position.




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Adverse Employment Action

       An adverse employment action is defined as a “materially adverse change in the terms and

conditions of employment.” Galabya v. New York City Bd. of Educ., 202 F.3d 636, 640 (2d Cir.

2000) (citing Richardson v. New York State Dep’t of Correctional Serv., 180 F.3d 426, 446 (2d

Cir. 1999)). To qualify as “materially adverse,” an employment action must be “more disruptive

than mere inconvenience or an alteration of job responsibilities.” Id. (citing Crady v. Liberty Nat’l

Bank and Trust Co., 993 F.2d 132, 136 (7th Cir. 1993). The Second Circuit cites “termination of

employment, a demotion evidenced by a decrease in wage or salary, a less distinguished title, a

material loss of benefits, [or] significantly diminished material responsibilities” as examples. Id.

       Plaintiff has pled sufficiently that she suffered an adverse employment action when she

was issued a medical certification form with her former male name. Accepting the facts alleged in

the complaint as true, and drawing all inferences in favor of Plaintiff, Defendant’s employment

action at issue is “adverse” within the meaning of Title VII. Defendant’s action led to Plaintiff

being unable to renew her commercial license and resulted in a loss of material benefits in the form

of lost wages during Plaintiff’s suspension.

       Defendant counters that issuing Plaintiff a medical certification form with her former name

is not significant enough to constitute an adverse employment action and, instead, should be

considered an “administrative error.” (Def.’s Mot. at 8.) Defendant claims that, because Plaintiff

was subsequently issued a corrected form, the issuance of the form in Plaintiff’s former name

initially cannot constitute an adverse employment action. (Id. at 9.) Defendant argues that, even if

Plaintiff had stated an adverse action, it is irrelevant because issuing Plaintiff an incorrect medical

certification form had no effect on her employment status as she remained employed from the day

she was issued the incorrect medical certification form until her medical clearance lapsed. (Def.’s



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Mot. at 9; Def.’s Reply at 5.) Rather, Defendant claims that Plaintiff’s lapse in medical certification

occurred due to the change in the law requiring diabetics to be examined by an endocrinologist

and Plaintiff’s failure to keep abreast of changes in the law. (Id. at 9; Def.’s Reply at 5–6). Lastly,

Defendant notes that Plaintiff was able to get a physical examination even without the corrected

form. (Def.’s Reply at 5.)

       The Court finds these arguments unpersuasive. First, Defendant misconstrues the 12(b)(6)

standard. Under Rule 12(b)(6) the Court is required to accept all facts presented in the complaint

as true and draw all inferences in favor of the plaintiff. There are no facts in the complaint that

allow the Court to conclude that Defendant made an administrative error when it issued Plaintiff a

medical certification form with Plaintiff’s former name. On the contrary, the complaint supports

an inference that Defendant’s actions resulted in more than “a mere inconvenience” to Plaintiff.

Due to Defendant’s actions, Plaintiff was unable to renew her commercial driver’s license, which

resulted in a subsequent five-month suspension and material loss of benefits.

       Defendant’s argument that Plaintiff’s lapse in medical certification was a result of the

change in the law is not supported by the Complaint either. Taking all facts in the Complaint as

true, and drawing all inferences in favor of Plaintiff, it is possible that, had Plaintiff received a

correct medical certification form initially, or if Defendant had corrected the form as soon as

Plaintiff raised the issue, Plaintiff might have been able to meet the new requirement that diabetics

see an endocrinologist in time to renew her license seamlessly. (Pl.’s Opp’n. at 10.) Furthermore,

the fact that Defendant eventually issued Plaintiff a corrected medical certification form, or that

Plaintiff was able to get a medical examination even without the form, is irrelevant. These actions

did not occur until after Plaintiff’s medical certification lapsed, supporting the inference that

Defendant’s actions were the cause of Plaintiff’s lapse in medical clearance. (Pl.’s Opp’n. at 9;



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 Exhibit A, Dkt. No. 1-2.) Thus, Plaintiff has pled adequately that she suffered an adverse

 employment action.

 Circumstances Giving Rise to an Inference of Discrimination

        The Second Circuit has held that “at the pleadings stage of an employment discrimination

 case, a plaintiff has a ‘minimal burden’ of alleging facts ‘suggesting an inference of discriminatory

 motivation.’” Vega v. Hempstead, 801 F.3d 72, 85 (2d Cir. 2015) (citing Littlejohn v. City of New

 York, 795 F.3d 297 (2d Cir. 2015)). To survive a motion to dismiss in a Title VII case, “a plaintiff

 must plausibly allege that (1) the employer took adverse action against him; and (2) his race, color,

 religion, sex, or national original was a motivating factor in the employment decision.” Id. at 87.

 The plaintiff “may do so by alleging facts that indirectly show discrimination by giving rise to a

 plausible inference of discrimination.” Id. “An inference of discrimination can arise from

 circumstances including, but not limited to, ‘the employer’s criticism of the plaintiff’s performance

 in ethnically degrading terms; or its invidious comments about others in the employee’s protected

 group; or the more favorable treatment of employees not in the protected group; or the sequence

 of events leading to the [adverse action].’” Littlejohn v. City of New York, 795 F.3d 297, 312 (2d

 Cir. 2015) (citing Leibowitz v. Cornell Univ., 584 F.3d 487, 502 (2d Cir. 2009)). “Such

 circumstances can include ‘actions or remarks made by decisionmakers that could be viewed as

 reflecting discriminatory animus.’” Soloviev, 104 F. Supp.3d at 248 (citing LaSalle v. City of N.Y.,

 13-CV-5109, 2015 WL 1442376, at *2 (S.D.N.Y. Mar. 30, 2015)). Additionally, the Court may

 consider the totality of the relevant facts, including allegations of discrimination that do not rise to

 the level of adverse employment actions, to shed light on Defendant’s motivation. Vega, 801 F.3d

 at 88 (citing Washington v. Davis, 426 U.S. 229, 242 (1976)).




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        Plaintiff’s allegations are sufficient for the Court to infer that Defendant discriminated

 against Plaintiff. Defendant was aware of Plaintiff’s transgender status because, when Plaintiff

 began working for Defendant, she presented herself as, and dressed as, a woman, but had not

 changed her name legally yet. (Compl. ¶ 14.) Lewis was aware of Plaintiff’s status as a transgender

 female as he had access to all employee personnel files. (Compl. ¶ 17.) Plaintiff alleges that, during

 the course of her employment, her manager repeatedly made unwanted and inappropriate

 comments towards her based on sex. (Compl. ¶ 4; Exhibit A, Dkt. No. 1-2.) While these comments

 on their own do not constitute an adverse employment action, they “provide relevant background

 evidence by shedding light on Defendant’s motivation.” Vega, 801 F.3d at 85 (citing Nat’l R.R.

 Passenger Corp., 536 U.S. 101 (2002).

        Given these allegations, Defendant’s issuance of Plaintiff’s medical certification form in

 her former male name reasonably can be said to have taken place under circumstances giving rise

 to the inference of discrimination. Furthermore, the medical form is a handwritten form, filled out

 by Lewis, that easily could have been corrected once Defendant was alerted to the error. (Exhibit

 A & B, Dkt. No. 12-2, 12-3.) Defendant presents no alternative explanation for why the form was

 not corrected promptly when they were alerted to the error. (See generally Def.’s Mot.) This

 supports an inference that Defendant’s actions were based on discriminatory animus.

        Defendant argues that Plaintiff does not allege any facts that support the conclusion that

 the adverse employment action of which she complains happened because of her transgender status

 or was in any way tied to her gender identity. (Id. at 10.) For the purposes of this prong, Defendant

 tries to frame the adverse employment action that occurred as Plaintiff’s suspension, and contends

 that this suspension was not based on discriminatory animus. (Id. at 13.) However, as established

 supra, the adverse employment action complained of is the issuing of the incorrect medical



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 certification form and, as Plaintiff argues, can be construed as being directly tied to her gender

 identity. (Pl.’s Opp’n. at 11.)

         Defendant also asserts that, because Plaintiff’s commercial driver’s license still indicates

 Plaintiff’s gender as male, issuing a form with her former male name cannot be considered

 discriminatory. (Def.’s Reply at 7.) This argument is unavailing. Lewis did not need to consult

 Plaintiff’s driver’s license in order to fill out the medical certification form because he was aware

 of Plaintiff’s status as a transgender female. (Compl. ¶ 19.) Furthermore, the simple nature of the

 medical certification form itself supports an inference of discrimination because it would have

 been easy for Defendant to issue a corrected medical certification form, but Defendant did not do

 so even when alerted to the error. (Id. ¶ 25.)

         Lastly, Defendant argues that, even if the action was discriminatory, it is equivalent to a

 stray remark. (Def.’s Reply at 7). The Court rejects this argument for the same reasons it rejected

 the argument that the issuance of the incorrect medical certification form was an “administrative

 error.” Accepting all facts alleged in the Complaint as true, and drawing all inferences in favor of

 the Plaintiff, there is nothing to support that issuing the form under Plaintiff’s former name was

 the equivalent of a “stray remark.” In fact, Plaintiff alleges that Defendant had made unwanted and

 inappropriate comments towards her repeatedly based on sex. (Compl. ¶ 4; Exhibit A, Dkt. No. 1-

 2.) The cases Defendant uses to support its argument were decided on summary judgment, after

 discovery, not on motions to dismiss. See Paul v. Postgraduate Center for Mental Health, 97 F.

 Supp.3d 141 (E.D.N.Y. 2015); Harrison v. North Shore University Hospital, No. CV 04-2033

 (WDW), 2008 WL 656674 (E.D.N.Y. Mar. 6, 2008). The Court finds the questions presented here

 are more appropriately decided after discovery has taken place. Thus, Plaintiff has pled sufficiently




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 that the adverse employment actions complained of occurred under circumstances giving rise to

 an inference of discrimination.

        2. Claims under NYCHRL

 Legal Standard

        “NYCHRL claims . . . are reviewed independently from and more liberally than their

 federal and state counterparts.” Soloviev, 104 F. Supp.3d at 246 (citing LaSalle v. City of N.Y., 13-

 CV-5109, 2015 WL 1442376, at *3 (S.D.N.Y. Mar. 30, 2015). Under this more lenient legal

 standard, a “complaint must still allege facts on the basis of which a court can find differential

 treatment i.e.—the plaintiff was ‘treated less well—because of a discriminatory intent.’” Id. (citing

 Mihalik v. Credit Agricole Cheuvreux North America, Inc., 715 F.3d 102, 110 (2d Cir. 2013) and

 LaSalle, 2015 WL 1442376 at *3.) Defendant moves to dismiss this claim, arguing that Plaintiff

 makes only conclusory allegations that she was wronged because of her transgender status, and

 does not identify a specific situation in which she was treated differently than similarly situated

 employees. (See Def.’s Mot. at 13.)

 Differential Treatment Because of a Discriminatory Intent

        In order to survive a motion to dismiss, “a complaint must . . . allege facts on the basis of

 which a court can find differential treatment i.e.—the plaintiff was ‘treated less well—because of

 a discriminatory intent.’” Soloviev, 104 F. Supp.3d at 246. (citing Mihalik v. Credit Agricole

 Cheuvreux North America, Inc., 715 F.3d 102, 110 (2d Cir. 2013) and LaSalle, 2015 WL 1442376

 at *3.) Even though this standard is more lenient than in the parallel federal and state statutes, “a

 complaint will not always pass muster under NYCHRL . . .” Soloviev, 104 F. Supp.3d at 250. “The

 plaintiff still bears the burden of showing that the conduct is caused by a discriminatory motive . .

 . [i.e.] because of [the protected characteristic].” Id. (citing Mihalik, 715 F.3d at 110).



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        Plaintiff has pled sufficiently that the conduct complained of was caused by a

 discriminatory motive as discussed supra. While Plaintiff’s factual allegations do not directly

 discuss how other similarly situated non-transgender diabetic employees are treated differently,

 accepting all allegations in the Complaint as true, the Court can draw an inference that other

 employees received their medical certification forms with their correct names as Plaintiff had for

 years. (Compl. ¶ 20.) Defendant could not operate as a bus company if it schemed to strip all of its

 drivers of their commercial driver’s licenses. Defendant’s argument that there is a complete

 absence of any discrimination, (Def.’s Mot. at 13), is unsupported by the allegations contained in

 the Complaint.

        Based on Plaintiff’s allegations, the Court concludes that she has satisfied the pleading

 requirements for a Title VII, NYSHRL, and NYCHRL claims.

                                            Conclusion

        For the foregoing reasons, Defendants’ motion to dismiss is denied.

  SO ORDERED.

  Dated: Brooklyn, New York
         March 30, 2018
                                                                   /s/
                                                             DORA L. IRIZARRY
                                                               Chief Judge




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